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               IN THE DISTRICT COURT OF THE UNITED STATES
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

WALTER PETTAWAY, as administrator         )
of the Estate of Joseph Lee Pettaway,     )
deceased,                                 )
                                          )
               Plaintiff,                 )
                                          )
       v.                                 )     CASE NO. 2:19-cv-08-JTA
                                          )
NICHOLAS D. BARBER and                    )
MICHAEL D. GREEN,                        )
                                          )
               Defendants.                )

                                      ORDER

       For good cause, it is

       ORDERED that the motion hearing by video conference set for October 6, 2020 at

11:00 a.m. is RESET to October 19, 2020 at 10:30 a.m.

       The Courtroom Deputy is directed to notify the parties and provide the contact

information.

       The parties are DIRECTED to sign into the video conference no later than five

minutes prior to the hearing.

       DONE this 29th day of September, 2020.



                                 /s/ Jerusha T. Adams
                                 JERUSHA T. ADAMS
                                 UNITED STATES MAGISTRATE JUDGE
